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 8
     Attorneys for UNITE HERE Local 11

 9                        UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11     HOST INTERNATIONAL, INC.,              Case No.: 19-cv-1568
12
                        Petitioner,           [Assigned For All Purposes to Honorable
13                vs.                         Magistrate Judge Suzanne H. Segal]
14
       UNITE HERE Local 11,                  RESPONDENT-
15
                                             COUNTERCLAIMANT UNITE HERE
16                      Respondent.          LOCAL 11’S NOTICE OF MOTION
17                                           AND MOTION TO CONFIRM
                                             ARBITRATION AWARD AND IN
18                                           OPPOSITION TO PETITIONER HOST
19                                           INTERNATIONAL, INC.’S MOTION
                                             TO VACATE
20
21     UNITE HERE Local 11,                  Date:        April 23, 2019
                                             Time:        10:00 a.m.
22
                        Counterclaimant,     Dept.:       Courtroom 590
23                vs.                        Petition Filed: March 4, 2019
24
       HOST INTERNATIONAL, INC.,
25
26                      Counterdefendant.
27
28


     NOTICE OF MOTION TO CONFIRM ARBITRATION AWARD                 Case No.: 19-cv-1568
      Case 2:19-cv-01568-SS Document 16 Filed 03/25/19 Page 2 of 3 Page ID #:388




 1         Respondent-Counterclaim Petitioner UNITE HERE Local 11 (“Local 11”) moves
 2   for an order confirming the arbitration award issued by Arbitrator Guy Prihar in an
 3   arbitration proceeding regarding a dispute that arose under a collective-bargaining
 4   agreement entered into by Local 11 and Petitioner-Counterclaim Respondent Host
 5   International, Inc.
 6         This motion is based on the supporting memorandum of law, the Declaration of
 7   Kristin L. Martin, and any argument at the time the Court hears this motion. This
 8   motion is made following the conference of counsel held pursuant to Local Rule 7-3 that
 9   took place on February 12, 2019.
10
11   Dated: March 25, 2019           Respectfully submitted,
12
13                                   _________________________
14                                   Kristin L. Martin, SBN 206528
                                     Kimberley C. Weber, SBN 302894
15                                   McCRACKEN, STEMERMAN & HOLSBERRY, LLP
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     NOTICE OF MOTION TO CONFIRM ARBITRATION AWARD                      Case No.: 19-cv-1568
      Case 2:19-cv-01568-SS Document 16 Filed 03/25/19 Page 3 of 3 Page ID #:389




 1                          PROOF OF SERVICE
          STATE OF CALIFORNIA, CITY AND COUNTY OF SAN FRANCISCO
 2
 3          I am employed in the city and county of San Francisco, State of California. I am
     over the age of eighteen years and not a party to the within action; my business address
 4
     is: 595 Market Street, Suite 800, San Francisco, California 94105.
 5
 6         On March 25, 2019 I served a copy of the following document(s) described as:

 7         RESPONDENT-COUNTERCLAIMANT UNITE HERE LOCAL 11’S
 8         NOTICE OF MOTION AND MOTION TO CONFIRM ARBITRATION
           AWARD AND IN OPPOSITION TO PETITIONER HOST
 9         INTERNATIONAL, INC.’S MOTION TO VACATE
10   on the interested party(ies) to this action as follows:
11
     By ECF System - Court’s Notice of Electronic Filing:
12
13         Steven M Zimmerman
14         Lawrence H Stone
           Jackson Lewis LLP
15         725 South Figueroa Street Suite 2500
16         Los Angeles, CA 90017-5408
           213-689-0404
17
           Fax: 213-689-0430
18         Email: steve.zimmerman@jacksonlewis.com
19                stonel@jacksonlewis.com

20         Attorneys for Host International, Inc.
21
22
           I declare under penalty of perjury under the laws of the State of California that the
23
     foregoing is true and correct.
24
25         Executed on this 25th day of March, 2019 at San Francisco, California.
26
27                                                  ______________________________
28                                                       Katherine Maddux

                                                    1
     CERTIFICATE OF SERVICE                                              Case No.: 19-cv-1568
